Case 5:18-cv-07182-EJD   Document 241-1   Filed 01/26/24   Page 1 of 20




                                  TRIAL EXHIBIT 4
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                                Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24   Page 2 of 20


                                                                                                                                                  



                           (Neo4j Blog)←[:BACK]



                           Neo4j Graph Database 3.4 GA Release: Everything You
                           Need to Know
                                          Philip Rathle, VP of Products
                                          May 17, 2018 · 8 mins read




                           Author’s note: What a hectic week in the world of Neo4j! In addition to finalizing the delivery of Neo4j 3.4, we
                           simultaneously built the GQL Manifesto, a call to support a common, unified Graph Query Language. Thank
                           you to the graph community for your strong vote of support! If you have not already voted, please do so.


                           The Neo4j graph database has always been the technology
                           closest to the core of our mission: to help the world make sense
                           of data.


                           With today’s general availability release of Neo4j Graph
                           Database version 3.4, we believe that mission is advanced
                           further than ever before.


                           The native graph database is the foundation around which the rest of the Neo4j Graph Platform is built, and
                           we’re proud to be releasing this version that will delight both longstanding community developers and        Plaintiffs'
                                                                                                                                       Trial Exhibit
                           enterprise DBAs alike.
https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
                                                                                                                                              4
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                                Case 5:18-cv-07182-EJD                  Document 241-1    Filed 01/26/24   Page 3 of 20

                                  3.4 Features By
                                                                                       Community                           Enterprise
                                            Edition

                                                                                             Data Types

                                Date/Time data type                                                                              

                                3D Geospatial data types                                                                         


                                                                              Performance Improvements

                                Native String Indexes – up to 5x
                                                                                                                                 
                                faster writes

                                Fast Backups                                                                                  2x Faster

                                Enterprise Cypher Runtime up to
                                                                                               –                                  
                                70% faster

                                100B+ Bulk Importer                                                                          Resumable


                                                                      Enterprise Scaling & Administration

                                Multi-Clustering (partition of
                                                                                               –                                  
                                clusters)

                                Automatic Cache Warming                                        –                                  

                                Rolling Upgrades                                               –                                  

                                Resumable Copy/restore cluster
                                                                                               –                                  
                                member



https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                                Case 5:18-cv-07182-EJD
                                New diagnostic metrics and
                                                                                        Document 241-1   Filed 01/26/24   Page 4 of 20
                                                                                               –                                 
                                support tools

                                Property Blacklisting                                          –                                 




                           Here is a closer look at the release-defining features of Neo4j Database 3.4:



                           Multi-Clusering
                           Multi-Clustering is the flagship feature of Neo4j Database 3.4, advancing the Graph Platform in scale,
                           expanded uses and performance.




                           With Multi-Clustering, you can create and manage multiple domain-specific database clusters, effectively

https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                           Case 5:18-cv-07182-EJD Document 241-1 Filed 01/26/24 Page 5 of 20
                           partitioning the graph into independent parts. We view this as a step in our march toward fully-sharded
                           horizontal scaling of graph data.


                           Multi-Clustering can be used to logically partition graphs; create highly-available, large-scale multi-tenant
                           SaaS systems; or oversee multiple graph implementations across the enterprise. For example, Multi-
                           Clustering is perfect for building GDPR-compliant data lineage systems by country, or segmenting a graph
                           database according to product line or division.


                           Directory Service

                           Multi-Clustering comes with a new directory service that manages a routing table of locations for each named
                           database cluster. The directory service lives within lower levels of Bolt drivers at the same level as cluster load
                           balancing and routing logic, all of which saves developers innumerable headaches.


                           Multi-Clusering Scalability Use Cases & Strategies

                           Here are just a few scalability use cases of Multi-Clustering we initially imagined (we’re sure you’ll surprise us
                           with even more):


                           1. Physical Graph Partitioning
                           For the horizontal scaling of databases with logically distinct graphs, Multi-Clustering can be used to adopt a
                           strategy of physical graph partitioning.


                           Physical graph partitioning might include naming and managing graphs according to geography (e.g.,
                           country), customer ID, products, use cases, versions, or data center as individual clustered instances. Or, you
                           could use this approach for the creation and storage of multiple analytic graphs derived from graph-based
                           analysis.


                           Physical graph partitioning is a cloud-friendly model, especially considering server-to-server encryption, multi-

https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                          Case 5:18-cv-07182-EJD Document 241-1 Filed 01/26/24 Page 6 of 20
                           data center or zone support in conjunction with the above-mentioned strategies.


                           2. Cluser-Based Multi-Tenancy
                           Using Multi-Clustering for a cluster-based multi-tenant strategy allows you to define baseline schemas and
                           data templates independent of a given tenant. You can also name graph data according to tenant ID and
                           route it accordingly.


                           This strategy allows SaaS providers to deploy tenants as triplets of cloud instances that both separates
                           individual customer data and provides high availability and customer-centric security – all without disturbing
                           the top-level behavior and operation of the application or service.


                           3. Multi-Graph Operations within the Enterprise
                           Finally, Multi-Clustering can be used to combine oversight of use-specific graphs within an enterprise
                           organization, such as metadata, GDPR compliance services, identity management, network topology
                           management and Customer 360 experience data.



                           New Data Types
                           Neo4j Database introduces two brand-new data types: date/time data and three-dimensional geospatial
                           data. These new data types enable optimized Cypher queries for searches across time or space.


                           Temporal Data in Neo4j

                           The introduction of date/time data expands graph-based thinking into other types of temporal (time-situated)
                           logic and queries that matches modern research happening at leading universities across the globe. Temporal
                           data is also important for Internet of Things (IoT) use cases, versioning and other changes-over-time
                           implementations.


https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                         Case 5:18-cv-07182-EJD Document 241-1 Filed 01/26/24 Page 7 of 20
                           With the new date/time data types, you can more easily tap into a variety of use cases, such as:
                                   Time trees

                                   Change logs

                                   Temporal incentives (“Offer this coupon until this date.”)

                                   Complements to spatial queries (“Optimize route based on commute hour.”)


                           The new date/time data includes a variety of formats and conforms to a familiar SQL-like model.


                           3D Spatial Data in Neo4j

                           In addition to traditional latitude and longitude, the new geospatial data types in Neo4j also include Cartesian
                           coordinates (x, y, z), radial distances, altitude, depth and slope.




                                           Neo4j Database 3.4 now supports three-dimensional geospatial search as a data type and in Cypher queries.
https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                                Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24     Page 8 of 20

                           These new data types greatly expand the types of searches and use cases for graph data, including location-
                           based searches (“Find me a coffee shop within 100 meters”) and 3D routing requests (“Route the delivery to
                           the 3rd floor”).


                           Another example: Using these new data formats, you could build a real-time bike-messenger delivery system
                           that could not only locate addresses, but also specify time of delivery and elevation changes for the rider.




                           Another 3D geospatial search example: Recommend a shirt available in a multi-foor sore close by in the men’s department. In Neo4j 3.4,
                                         Cypher queries now support the data types necessary to complete such searches and recommendations.




                           Performance Improvements
                           Neo4j 3.4 is faster in terms of both reads and writes, and these overall performance improvements are

https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                           Case 5:18-cv-07182-EJD Document 241-1 Filed 01/26/24 Page 9 of 20
                           proportionally reflected in both Community and Enterprise Editions (with some differences).


                           The 3.4 release removes multiple layers of APIs between the kernel, interpreters and compilers, producing
                           impressive performance improvements that other graph-layered products will find challenging to reproduce.


                           Blazing-Fas Writes

                                   Writes are now up to 5x faster for nodes with indexed string properties, thanks to native string indexes
                                   and lessening dependence on third-party libraries.

                                   A new kernel API streamlines internal instructions.

                                   Bulk imports can handle over a 100 billion nodes and relationships.

                                   Transaction states consume less memory thanks to various efficiency improvements (including
                                   native indexing) working together.


                                                                         Writes with Native String Indexes

                           Writes are now up to 5x faser for nodes with indexed sring properties, thanks to native sring indexes. This reduces Neo4j’s dependency
                                       on the popular external indexing library Lucene, and gives Neo4j fner-grained control over index response times.




                           Speedy Reads

                                   Internal testing shows that Cypher runtime is 20% faster than for Neo4j 3.3 Community Edition and
                                   Cypher runtime is 50-70% faster than Neo4j 3.3 Enterprise Edition.




https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                               Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24        Page 10 of 20




                                Internal tesing shows that Cypher runtime is 50-70% faser in Neo4j 3.4 Enterprise Edition than in Neo4j 3.3 Enterprise Edition.




                           New Adminisrator Features
                           Database administrators, DevOps and other support staff have had an important voice in strengthening Neo4j
                           both in the past and in the 3.4 release. Some of the key highlights include:


                                   Hot backups are now twice as fast as in previous releases.

                                   After restart or restore, active cache warming now automatically warms the page cache to its previous
                                   operational state, getting servers back online in record time. This active warm-up exercise also
                                   cascades to Read Replicas within that Causal Cluster. The effect is that applications enjoy the peak
                                   operational responsiveness – immediately.

                                   A new diagnostic utility (dump tool) improves the speed and accuracy of collaboration support cases

https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                          Case 5:18-cv-07182-EJD Document 241-1               Filed 01/26/24    Page 11 of 20
                                   between customers and Neo4j Support.


                           Cluser Member Management

                                   Data store copy and catch-up features to enable a new empty instance to join a cluster and become
                                   operational in no time. This feature adds full transaction history as well as bulk-load historic data and
                                   transaction leftovers.

                                   Catch-up functions can be stopped and resumed, and also include ongoing raft log updates to
                                   complete making a new instance fully armed and operational.


                           Rolling Upgrades

                                   Rolling upgrades allow for updating older instances while keeping other members stable and
                                   without requiring a restart of the environment.

                                   All new patch, minor and major versions will support rolling upgrades starting from Neo4j 3.4.

                                   Rolling upgrades will operate with both read-only and read/write instances.




https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                               Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24   Page 12 of 20




                           Neo4j 3.4 now supports rolling upgrades so you can update older insances while keeping other members sable and without requiring a
                                                                                resart of the environment.




                           Database Security Advancements
                           As with past releases, the Neo4j Database 3.4 release continues to robustly uphold modern database security
                           principles, often not available in competing graph stores or other NoSQL databases.


                           Our current database security features include:
                                   User- and role-based security within the database

                                   LDAP and AD directory integration

                                   Kerberos authentication (ticket-based)

https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                         Case 5:18-cv-07182-EJD Document 241-1                          Filed 01/26/24       Page 13 of 20
                                   HTTPS access to all user-facing interfaces

                                   TLS encrypted traffic among cluster routing, cluster members, including through Bolt application drivers
                                   and across data centers

                                   Encrypted data at rest via file-system encryption


                           With Neo4j 3.4, administrators can now implement property blacklisting by name or role, securing property
                           visibility. This feature is similar to SQL-centric column level security without impacting performance.




                                         With Neo4j 3.4, adminisrators can now implement property security by name, blacklising properties for users.




                           Conclusion
                           As the core of the Neo4j Graph Platform, this 3.4 release of the Neo4j Graph Database indicates an upgrade

https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                           Case 5:18-cv-07182-EJD Document 241-1 Filed 01/26/24 Page 14 of 20
                           for the entire platform that relies on it. We’re confident that the upgrades in Neo4j 3.4 will deliver stunning
                           spillover results into all of the new products and features of the Graph Platform as they roll out later this year.




                                           Neo4j Database 3.4 is jus one of many recent or soon-to-be-released upgrades to the Neo4j Graph Platform.


                           We encourage you to download Neo4j Database 3.4 and try it out for yourself – whether as part of Neo4j
                           Desktop or as part of your Enterprise Edition license.


                           While we know some of the most clear and obvious ways that this release will help you harness your data
                           connections, we’re even more excited to hear how our millions of users worldwide will use these new features
                           to build applications beyond the limits of our wildest imagination.


                           For all of the Neo4j team,


                           –Philip Rathle


                                                           Start pushing boundaries today:
                           Download Neo4j Desktop right now and see for yourself what you can do with the leading platform for
                                                                   connected data.


                                                                                             Download Neo4j 3.4




                             cache warming         Cartesian coordinates        cypher        database security   DevOps   graph database   hot backups

                             native graph database        neo4j       Neo4j 3.4


https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                               Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24   Page 15 of 20
                                                                                                                                Neo4j Community Disclaimer




                                                        Author
                                                        Philip Rathle, VP of Products
                                                        Philip Rathle has a passion for building great products that help users solve
                                                        tomorrow’s challenges. He spent the first decade of his career building information
                                                        solutions for some of the world’s largest companies: first with Accenture, then with
                                                        Tanning Technology, one of the world’s top database consultancies of the time, ...
                                                        know more




           Related Articles




https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                               Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24   Page 16 of 20




             The Lean-In Moment: 5-Minute Interview with Paul Westcott

             Oct 16 · 3 mins read




https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                               Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24   Page 17 of 20




             5-Minute Interview: Graph Databases For Dummies with Dr. Jim Webber and Rik Van Bruggen

             Oct 15 · 5 mins read




https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                               Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24   Page 18 of 20




             Fixing Your Microservices Architecture Using Graph Analysis

             Oct 07 · 13 mins read




           Comments (2)

           Leave a Reply
           Your email address will not be published.

https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                               Case 5:18-cv-07182-EJD                  Document 241-1   Filed 01/26/24   Page 19 of 20




            Preferred Name*

            Email*

            Website
            Post Comment




                 Satish
                 Nov 6, 2018

              Hi, is there any article describing: how ne04j works with a bigdata cluser which ingess 10 billion events per day and data needs to be visualized with
              a graph visualization like keylines?

              Reply




                 Sebastien DOLLAR
                 May 6, 2019

              We are trying to have some DB on same cluser like Production DB, copy of it as dev side data

              It can be possible and with what way ?


https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
Neo4j Graph Database 3.4 GA Release: Everything You Need to Know
                                               Case 5:18-cv-07182-EJD                  Document 241-1       Filed 01/26/24    Page 20 of 20
              Reply




              PRODUCTS                      CUSTOMERS                      Why Graph Databases?
                                                                           Graph Databases vs
                                                                                                  Company
                                                                                                  News                        
                                                                                                                               
                                                                                                                                 
                                                                                                                                   
                                                                                                                                     
                                                                                                                                      
              USE CASES                     LEARN                          RDBMS
                                                                                                  Awards
                                                                           What’s New in Neo4j
                                                                                                  Careers
              PARTNERS                      DEVELOPERS                     Graphdatabases.com
                                                                                                  Staff




                                                                           CONTACT US →

                                                                           US: 1-855-636-4532
                                                                           Sweden +46 171 480 113
           © 2020 Neo4j, Inc.                                              UK: +44 20 3868 3223
           Terms | Privacy | Sitemap
                                                                           France: +33 (0) 1 73 23 56 07

           Neo4j®, Neo Technology ®, Cypher®, Neo4j®
           Bloom™ and Neo4j® Aura ™ are regisered
           trademarks
           of Neo4j, Inc. All other marks are owned by their
           respective companies.




                                                                 Contact Sales: 1.855.636.4532               Email a graph expert




https://neo4j.com/blog/neo4j-graph-database-3-4-ga-release/?ref=blog[11/7/2020 3:03:57 PM]
